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                             IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON

                                           PORTLAND DIVISION


DANICA LOVE BROWN, individually                                        No. 3:15-cv-01370-MO
and on behalf of all others similarly situated,
                                                                                  JUDGMENT
                       Plaintiff,
           v.

STORED VALUE CARDS, INC. (d/b/a
NUMI FINANCIAL); and CENTRAL
NATIONAL BANK AND TRUST
COMPANY, ENID, OKLAHOMA,

                       Defendants.

MOSMAN,J.

       Based on my Order [190] GRANTING Defendants' Motion for Summary Judgment, IT

IS ORDERED AND ADJUDGED that this action is DISMISSED with prejudice.

       IT IS SO ORDERED.

                                    of August, 2018.




                                                          Chief United States District Judge




I-JUDGMENT
